                                                              FILED
Case 5:24-cv-00387-OLG-RBF Document 9 Filed 06/22/24 Page 1 of 8

                                                            June 22, 2024
                                                       CLERK, U.S. DISTRICT COURT
                                                       WESTERN DISTRICT OF TEXAS

                                                                      wg
                                                    BY: ________________________________
                                                                            DEPUTY
Case 5:24-cv-00387-OLG-RBF Document 9 Filed 06/22/24 Page 2 of 8
Case 5:24-cv-00387-OLG-RBF Document 9 Filed 06/22/24 Page 3 of 8
Case 5:24-cv-00387-OLG-RBF Document 9 Filed 06/22/24 Page 4 of 8
Case 5:24-cv-00387-OLG-RBF Document 9 Filed 06/22/24 Page 5 of 8
Case 5:24-cv-00387-OLG-RBF Document 9 Filed 06/22/24 Page 6 of 8
Case 5:24-cv-00387-OLG-RBF Document 9 Filed 06/22/24 Page 7 of 8
Case 5:24-cv-00387-OLG-RBF Document 9 Filed 06/22/24 Page 8 of 8
